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B7 (Official Form 7) (04/10)




                                                        United States Bankruptcy Court
                                                               District of Colorado
 lure        Mountain City Meat Co., Inc.                                                                       CaseNo.        11-32656
                                                                                 Debtor(s)                      Chapter        11


                                                    STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing ajoint petition may fi]e a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual’s personal affairs. To indicate payments, transfers and the like to minor children, state the child’s initials and the
name and address of the child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian.” Do not disclose the child’s name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions I 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
                               -




Questions 19- 25. If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

           “In business. “A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in
business’ for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business”
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor’s primary employment.

          “Insider. “The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

   None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor’s
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor’s fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                         SOURCE
                          $117,790,983.00                2011 YTD      -   Gross Income (See attached Exhibit 1)
                          $170,029,840.00                2010   -   Gross Income (See attached Exhibit 1)
                          $182,660,594.00                2009   -   Gross Income (See attached Exhibit 1)




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                                                                                                                                                             2
             2. Income other than from employment or operation of business

    None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtors business
     11      during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
             each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                      AMOUNT                            SOURCE
                      $12,949.00                        2011 YTD         -   Proceeds from former tenant’s bankruptcy
                      $9,287.00                         2010      -   Proceeds from state of Tennessee jobs creation program
                      $0.00                             2009

             3. Payments to creditors

   None      Complete a. or b., as appropriate, and c.

             a.    Individual or joint debtor(s) with prinwrily consumer debts. List all payments on loans, installment purchases of goods or services,
             and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
             of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
             creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
             nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                       DATES OF                                                      AMOUNT STILL
    OF CREDITOR                                                         PAYMENTS                            AMOUNT PAID                  OWiNG

   None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
    D        immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
             transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
             account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
             budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
             transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                                                                                 AMOUNT
                                                                        DATES OF                                  PAID OR
                                                                        PAYMENTS!                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                              TRANSFERS                 OWING
 See attached Exhibit 3b                                                See attached Exhibit 3b   **
                                                                                                           $24,668,576.60            $8,185,213.95


   None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
    D        creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                     AMOUNT PAID                  OWING
Dodson, Jerry L                                                         9-24-10 through 81111**               $188,170.34                      $0.00
472 Golden Lane
Longmont, CO 80504
   Former Secretary
 Divin, Rolland                                                         9-24-10 through 81111**               $312,961.08                      $0.00
 2701 Del Mar Drive
 Gulf Breeze, FL 32563
    Former President



  Payments made by the receivership estate, which was established on August 11, 2011 pursuant to the Court
Order dated August 11, 2011, Case Number 2011CV5635 in the Denver District Court, are not incIuded.
 Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or alter the date of adjustme.at.

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                                                                                                                                                              3
               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     11        this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

 CAPTION OF SUIT                                                               NATURE OF         COURT OR AGENCY                          STATUS OR
 AND CASE NUMBER                                                               PROCEEDING        AND LOCATION                             DISPOSITION
 Ryan C. Sander v. Mountain City Meat Co., Inc.,                               Wage Claim        Denver County District Court             Settlement
 Case No. 2010-CV..9623                                                                                                                   agreement
                                                                                                                                          entered
                                                                                                                                          February 14,
                                                                                                                                          2011

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                               DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                DATE OF SEIZURE             PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and ajoint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                          ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     D         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
NAME AND ADDRESS                                                        OF COURT                        DATE OF        DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                                     CASE TITLE & NUMBER                  ORDER                PROPERTY
 BGA Management, LLC                                               Fifth Third Bank v. Mountain City August11,         The Debtor’s personal property
 dba Alliance Management, Inc.                                     Meat Co., Inc.                    2011              and related operations
 1400 16th Street, Suite 400                                       Denver County District Court
 Denver, CO 80202                                                  Caase Number 2011CV5635




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                                                                                                                                                          4
              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
    D         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                   RELATIONSHIP TO                                            DESCRIPTION AND
 PERSON OR ORGANIZATION                                   DEBTOR, IF ANY                     DATE OF GIFT            VALUE OF GIFT
 Central Kitchen                                         None                                12120110               Commercially Obsolete Food
 353 W. Iowa Street                                                                                                 -$19,327.17
 Fountain, CO 80817
 Stout Street Foundation                                 None                                111111                 Commercially Obsolete Food
 7251 East 49th Ave                                                                                                 -$4,678.15
 Commerce City, CO 80022-4714
 Co Springs Rescue Mission                               None                                12I23I10               Commercially Obsolete Food
 I W. Las Vegas St.                                                                                                 -$10,386.18
 Colorado Springs, CO 80903-4217
 Food Bank of the Rockies                                None                                12127/10               Commercially Obsolete Food
 10700 East45th Avenue                                                                                              -$41,109.50
 Denver, CO 80239
 Broadway Assistance Center                              None                                12113/10               Commercially Obsolete Food
 1212 Mariposa St.                                                                                                  -$1,850.00
 Denver, CO 80204
 The Redistribution Center                               None                                12/20I10               Commercially Obsolete Food
 12681 W. 49th Ave                                                                                                  -$45,018.70
 Wheat Ridge, CO 80033

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                  LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                           BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS
 Cash $49,466.61
        -                                                            Theft by former employee                                 March 2010 through
                                                                     Covered in whole by insurance, but the debtor            June 2011
                                                                     has a $25,000 deductible

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                       DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                     NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
   OF PAYEE                                                              THAN DEBTOR                                     OF PROPERTY
Brownstein Hyatt Farber Schreck LLP                                  09/01/11                                      $25,000.00
410 17th Street, Suite 2200                                          09I16/11                                      $101,039.00
Denver, CO 80202-4432




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              10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
    •        transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                         DATE                              AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
    B        trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                             DATE(S) OF                 VALUE OF PROPERTY OR DEBTORS INTEREST
                                                                    TRANSFER(S)                IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                     AND AMOUNT OF FINAL BALANCE                              OR CLOSING
 Fifth Third Bank                                                   Checking Account 6494-                             $0
 1225 17th Street, Suite 1825                                                                                          9/1/11
 Denver, CO 80202
 Fifth Third Bank                                                   Old Operating Account -1184                        $1,897,367.46
 1225 17th Street, Suite 1825                                       (Amount transferred to receivership                8123(11
 Denver, CO 80202                                                   account)

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
    B        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                    NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                            OF THOSE WITH ACCESS                         DESCRIPTION                    DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                TO BOX OR DEPOSITORY                         OF CONTENTS                     SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                     AMOUNT OF SETOFF
See attached Exhibit 13                                             See attached Exhibit 13                            $935,586.00


             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.
     •

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                                                                                                                                                              6


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
    B         occupied during that period and vacated prior to the commencement of this case. Ifajoint petition is filed, report also any separate
              address of either spouse.

 ADDRESS                                                                 NAME USED                                    DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     B        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              ‘Environmental Law means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   ‘Site’ means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   ‘Hazardous Material means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     B        or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:

                                                          NAME AND ADDRESS OF                   DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                     NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     B       Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                   DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                     NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
    U        the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                        DOCKET NUMBER                                STATUS OR DISPOSITION




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                                                                                                                                                                7
              18 Nature, location and name of business
                 .




    None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-ID. NO.                                                                                    BEGINNING AND
 NAME                           (ITIN)! COMPLETE EIN             ADDRESS                         NATURE OF BUSINESS                 ENDING DATES

   None       b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C.   §   101.


 NAME                                                                 ADDRESS


     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only f the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 Dodson, Jerry L                                                                                           September 2009 September 2011
                                                                                                                                -



 5905 E. 42nd Ave
 Denver, CO 80216
Wagner, Heidi                                                                                              August 2010 September 2011
                                                                                                                           -




5905 E. 42nd Ave.
Denver, CO 80216
 Silverman, Ingrid                                                                                         July 2009 July 2010
                                                                                                                       -


 5905 E. 42nd Ave
 Denver, CO 80216
Trump, Amy                                                                                                 July 2010 September 2011
                                                                                                                       -


2960 Armory Drive
Nashville, TN 37204

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
    D        of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                    DATES SERVICES RENDERED
 Ehrhardt Keefe Steiner &                       1321 Oakridge Drive                                        2004-2011
 Hottman PC                                     Fort Collins, CO 80525-5763

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                                                                                                                                                                8

    None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     D        of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                 ADDRESS
 Dodson, Jerry L                                                                       5905 E. 42nd Ave
                                                                                       Denver, CO 80216
 Wagner, Heidi                                                                        5905 E. 42nd Ave
                                                                                      Denver, CO 80216
 Silverman, lngrid                                                                     5905 E. 42nd Ave
                                                                                       Denver, CO 80216
 Trump, Amy                                                                            2960 Armory Drive
                                                                                       Nashville, TN 37204

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
    D         issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                               DATE ISSUED
 See attached Exhibit 19d



              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                              INVENTORY SUPERVISOR                                      (Specifti cost, market or other basis)
 December 2009                                  Jerry Dodson                                              $12,128,715.00 Lower of Cost or Market
 December 2010                                  Jerry Dodson                                              $ 6,512,024.00 Lower of Cost or Market

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     D

                                                                            NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                          RECORDS
 December 2009                                                              Dodson, Jerry L
                                                                            Montain City Meat Company
                                                                            5905 E. 42nd Ave
                                                                            Denver, CO 80216
 December 2010                                                              Dodson, Jerry L
                                                                            Montain City Meat Company
                                                                            5905 E. 42nd Ave
                                                                            Denver, CO 80216

             21   .   Current Partners, Officers, Directors and Shareholders
   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                      NATURE OF INTEREST                              PERCENTAGE OF INTEREST




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                                                                                                                                                               9
    None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     D        controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                      TITLE                              OF STOCK OWNERSHIP
 MCMC Holding Company, Inc.                                            Stockholder of Debtor               100% of the Debtors stock
 5905 E. 42nd Ave
 Denver, CO 80216
 Sankaty Credit Opportunist LP                                         Stockholder of MCMC Holding        85.79% of MCMC Holding Company, Inc.
 200 Clarendon Street                                                  Company, Inc.                      Series A Preferred Stock
 John Hancock Tower
 Boston, MA 02118
 Divin, Ron                                                            Stockholder of MCMC Holding        9.54% of MCMC Holding Company, Inc.
 2701 Del Mar Drive                                                    Company, Inc.                      Common Stock
 Gulf Breeze, FL 32563
 BGA Management, LLC                                                   Chief Restructuring Officer        N!A
 dba Alliance Management, Inc.
 through its Agent Alex Smith
 1400 16th Street, Suite 400
 Denver, CO 80202

              22. Former partners, officers, directors and shareholders

    None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

 NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

    None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     D        immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                      TITLE                              DATE OF TERMINATION
 Divin, Ron                                                            PresidentlBoard Member             7122I11
 2701 Del Mar Dr
 Gulf Breeze, FL 32563
 L’Esperan, Brett                                                      Board Member                       8111111
 John Hancock Tower
 200 Clarendon St.
 Boston, MA 02116
 Ewald, Mike                                                           Board Member                       8/11/11
 John Hancock Tower
 200 Clarendon St.
 Boston, MA 02116
 Blackwell, Len                                                        Board Member                       3/7/11
 3400 N. Ashton Blvd., Suite 400
 Lehi, UT 84043
 Layton, Tim                                                           Board Member                       317111
 3401 N. Ashton Blvd., Suite 400
 Lehi, UT 84043
 Ludwid, Mark                                                          Board Member                       317111
 3402 N. Ashton Blvd., Suite 400
 Lehi, UT 84043




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                                                                                                                                                                 10
               23 Withdrawals from a partnership or distributions by a corporation
     None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

  NAME & ADDRESS                                                                                                         AMOUNT OF MONEY
  OF RECIPIENT.                                                      DATE AND PURPOSE                                    OR DESCRIPTION AND
  RELATIONSHIP TO DEBTOR                                             OF WITHDRAWAL                                       VALUE OF PROPERTY
  See attached Exhibit 23                                            See attached Exhibit 23     **
                                                                                                                         $485,574.57


               24. Tax Consolidation Group.
     None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
      E1       group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                            TAXPAYER IDENTIFICATION NUMBER (EIN)
  MCMC Holding Co., Inc.                                                                               29-1 928527

               25. Pension Funds.

     None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)
 Mountain City Meat Co., Inc. 401(k) Profit Sharing PLan                                               XX-XXXXXXX Plan 001


            DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
 and that they are true and correct to the best of my knowledge, information and belief.


 Date       October 11, 2011                                         Signature   Is! Alex G. Smith
                                                                                 Alex G. Smith
                                                                                 Agent of Alliance Management, Chief Restructuring
                                                                                 Officer

 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                 Penalty far making afalse statement: Fine of up to $500,000 or iinprisornnenl for up Ia 5 years, or both. 18 USC. § 152 and 3571




         Payments made by the receivership estate, which was established on August 11, 2011 pursuant to the Court
       Order dated August 11, 201 1, Case Number 2011 CV5635 in the Denver District Coui-t, are not included
**
  Payments made by the receivership estate, which was established on August 11, 2011 pursuant to the Court
Order dated August 11, 2011, Case Number 201 1CV5635 in the Denver District Court, are not included
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                                                               Check/Wire   Check/Wire
 ChecklWire/ACH #                       Vendor Name                Date      Amount       Total Payments     Amount Still Owed
Wire                5TH 3RD                                   7/1/11         $86,048.36        $279,529.72
Wire                5TH 3RD                                   7/1/11         $52,435.00

Wire                5TH 3RD                                   716/2011           $37.00

Wire                5TH 3RD                                   7/13/2011       $1,960.00

Wire                5TH 3RD                                   7/18/201I          $74.00

Wire                5TH 3RD                                   7/29/2011          $74.00
Wire                5TH 3RD                                   8/1/2011           $37.00

Wire                5TH 3RD                                   8/1/2011        $2,221.11

Wire                5TH 3RD                                   8/1/2011       $12,333.04

Wire                5TH 3RD                                   8/1/2011        $7,471.36

Wire                5TH 3RD                                   8/1/2011       $64,070.85

Wire                5TH 3RD                                   8/1/2011       $52,435.00

Wire                5TH 3RD                                   8/2/2011          $222.00

Wire                5TH 3RD                                   8/3/2011           $37.00

Wire                5TH 3RD                                   8/4/2011           $74.00


154339              NC SERVICE DONELSON AC
                                  -                           7/6/2011       $13,997.26         $16,057.46            $8,408.29
154313              A/C SERVICE   -   DONELSON AC             7/6/2011        $2,060.20


154213              AETNA U.S. HEALTHCARE                     6/30/11         $4,278.29          $6,730.40            $1,805.88
154569              AETNA U.S. HEALTHCARE                     7/21/2011          $95.12
154637              AETNA U.S. HEALTHCARE                     7/23/2011       $2,356.99


154157              AIR LIQUIDE AMERICA CORP                  6/27/11        $22,688.94        $136,417.91          $187,563.74
154302              AIR LIQUIDE AMERICA CORP                  7/6/2011       $42,662.05
154504              AIR LIQUIDE AMERICA CORP                  7/18/2011      $46,636.06
154571              AIR LIQUIDE AMERICA CORP                  7/21/2011      $24,430.86


Wire                ALLIANCE MANAGEMENT                       8/10/11        $10,000.00         $10,000.00


154303              AMERICAN EXPRESS                          7/6/2011        $8,244.79         $64,462.94           $26,982.42
154496              AMERICAN EXPRESS                          7/18/2011      $24,519.47
154633              AMERICAN EXPRESS                          7/21/2011      $31,698.68


154454              ANN BOND ASSOCIATES, INC                  7/13/2011      $20,400.00         $20,400.00                $0.00


Wire                APPLEBEES                                 7/6/2011        $2,302.15          $6,051.08               $98.15
Wire                APPLEBEES                                 7/15/2011       $3,748.93


154137              BEEF PRODUCTS INC.                        6/27/11       $267,484.80      $2,047,068.23          $244,260.00
154160              BEEF PRODUCTS INC.                        6/27/11       $123,180.00
154166              BEEF PRODUCTS INC.                        6/28/11        $59,220.00
154204              BEEF PRODUCTS INC.                        6/29/11       $315,863.81
154235              BEEF PRODUCTS INC.                        7/1/2011       $55,920.60
154407              BEEF PRODUCTS INC.                        7/6/2011      $200,736.00
154414              BEEF PRODUCTS INC.                        7/8/2011      $182,307.60
154427              BEEF PRODUCTS INC.                        7/11/2011     $158,314.00
154431              BEEF PRODUCTS INC.                        7/12/2011     $183,951.00
154457              BEEF PRODUCTS INC.                        7/13/2011      $59,027.40
154505              BEEF PRODUCTS INC.                        7/18/2011      $62,820.00



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                                                            ChecklWire   ChecklWire
 CheckiWireIACH #                 Vendor Name                   Date      Amount        Total Payments     Amount Still Owed
154544              BEEF PRODUCTS INC.                     7/20/2011      $60,631.20
154563              BEEF PRODUCTS INC.                     7/21/2011      $63,000.00
154660              BEEF PRODUCTS INC.                     7/25/2011      $62,820.00
154662              BEEF PRODUCTS INC.                     7/26/2011      $70,961.82
154718              BEEF PRODUCTS INC.                     7/28/2011     $120,830.00


154195              BERKLEY RISK ADMINISTRATORS            6/29/11         $9,447.00           $9,447.00                $0.00


154132              BUNZL PROCESSOR DIVISION               6/27/11         $1,105.66           $7,087.47            $6,501.47
154185              BUNZL PROCESSOR DIVISION               6/28/11           $408.91
154324              BUNZL PROCESSOR DIVISION               7/6/2011        $1,073.11
154485              BUNZL PROCESSOR DIVISION               7/15/2011         $477.56
154524              BUNZL PROCESSOR DIVISION               7/18/2011       $3,876.46
154697              BUNZL PROCESSOR DIVISION               7/27/2011         $145.77


154138              CARGILL FOOD DISTRIBUTION              6/27/1 1        $9,058.92          $70,448.39          $113,038.11
154163              CARGILL FOOD DISTRIBUTION              6/28/11        $46,302.65
154565              CARGILL FOOD DISTRIBUTION              7/21/2011       $6,866.24
154740              CARGILL FOOD DISTRIBUTION              8/1/2011        $8,220.58


154168              CARGILL MEAT SOLUTIONS CORP.           6/28/11        $40,639.22         $244,311.16                $0.00
154196              CARGILL MEAT SOLUTIONS CORP.           6/29/11       $122,974.06
154650              CARGILL MEAT SOLUTIONS CORP.           7/25/2011      $80,697.88


Wire                CENTRAL BEEF                           7/19/2011     $101,640.00         $101,640.00           $97,166.15


154073              COLORADO ATLANTIC EXPRESS LLC          6/27/11         $1,256.38          $25,252.49           $15,027.58
154167              COLORADO ATLANTIC EXPRESS LLC          6/28/11         $2,221.78
154506              COLORADO ATLANTIC EXPRESS LLC          7/18/2011      $11,428.91
154529              COLORADO ATLANTIC EXPRESS LLC          7/19/2011       $8,386.12
154564              COLORADO ATLANTIC EXPRESS LLC          7/21/2011         $977.55
154745              COLORADO ATLANTIC EXPRESS LLC          8/1/20 11         $981.75


154074              COLORADO MEAT PACKERS, INC.            6/27/11          $7,814.86         $29,667.44          $106,166.20
154289              COLORADO MEAT PACKERS, INC.            7/6/2011        $7,713.02
154458              COLORADO MEAT PACKERS, INC.            7/13/2011      $10,223.52
154468              COLORADO MEAT PACKERS, INC.            7/14/2011       $3,916.04


154352              CROWN CREDIT COMPANY                   7/6/2011        $6,973.14           $6,973.14           $13,287.78

154121              CS GROUP, INC.                         6/27/1 1       $18,764.12          $18,764.12           $17,857.15

154147              CT POWER, INC.                         6/27/11         $2,610.72           $9,277.39                $0.00
154541              CT POWER, INC.                         7/20/2011       $2,425.46
154584              CT POWER, INC.                         7/21/2011       $4,241.21


154319              DELINE BOX, CO.                        7/6/2011       $16,493.62          $16,493.62           $57,348.87

154408              DEN VER WATER DEPT.                    7/6/2011        $9,691.04           $9,691.04           $10,975.57




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I                                   Vendor Name
                                                              ChecklWire
                                                                  Date
                                                                           ChecklWire
                                                                            Amount       Total Payments     Amount Still Owed
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154354                EKS&H                                  7/6/2011        $6,160.00          $6,160.00           $28,570.00

    154115            FED EX                                 6/27/11         $2,344.49         $16,344.29           $18,795.61
    154360            FEDEX                                  7/6/2011          $312.38
    154517            FED EX                                 7/18/2011      $13,687.42


    154362            FOSS NORTH AMERICA                     7/6/2011        $6,721.48          $6,721.48           $13,636.08

    154366            G&KSERVICES                            7/6/2011        $6,002.87          $8,398.68           $17,090.00
    154522            G&KSERVICES                            7/18/2011       $2,395.81


    154241            GARRISON COLD STORAGE, LLC             7/1/2011       $19347.36          $41,702.32                $0.00
    154778            GARRISON COLD STORAGE, LLC             8/3/2011       $22,354.96


    154062            HIGH COUNTRY MEATS                     6/27/11        $46,497.93      $2,300,788.59          $698,581.51
    154142            HIGH COUNTRY MEATS                     6/27/11       $120,810.96
    154162            HIGH COUNTRY MEATS                     6/28/11       $153,540.90
    154186            HIGH COUNTRY MEATS                     6/29/11       $101,190.30
    154234            HIGH COUNTRY MEATS                     7/1/2011      $112,972.10
    154242            HIGH COUNTRY MEATS                     7/5/2011      $296687.49
    154287            HIGH COUNTRY MEATS                     7/6/2011      $101,412.84
    154401            HIGH COUNTRY MEATS                     7/7/2011       $68,434.20
    154416            HIGH COUNTRY MEATS                     7/11/2011     $122,307.48
    154429            HIGH COUNTRY MEATS                     7/11/2011     $156,575.25
    154443            HIGH COUNTRY MEATS                     7/13/2011      $91,372.53
    154461            HIGH COUNTRY MEATS                     7/14/2011     $152,637.46
    154474            HIGH COUNTRY MEATS                     7/15/2011      $72,442.17
    154526            HIGH COUNTRY MEATS                     7/19/2011      $60,721.77
    154538            HIGH COUNTRY MEATS                     7/20/2011     $129,365.48
    154557            HIGH COUNTRY MEATS                     7/21/2011      $18,588.96
    154634            HIGH COUNTRY MEATS                     7/22/2011      $16,356.60
    154643            HIGH COUNTRY MEATS                     7/25/2011      $59,741.09
    154661            HIGH COUNTRY MEATS                     7/26/2011     $149,819.92
    154674            HIGH COUNTRY MEATS                     7/27/2011      $65,488.39
    154709            HIGH COUNTRY MEATS                     7/28/2011      $34,750.98
    154726           HIGH COUNTRY MEATS                      7/29/2011      $40,089.80
    154727           HIGH COUNTRY MEATS                      7/29/2011      $44,024.76
    154738           HIGH COUNTRY MEATS                      8/1/2011       $56,159.74
    154774           HIGH COUNTRY MEATS                      8/3/2011       $28,799.49


    154146            ICEBERG ENTERPRISES INC                6/27/11         $1,261.70         $10,908.28           $17,414.59
    154586           ICEBERG ENTERPRISES INC                 7/21/2011       $9,646.58


    154154           IFCO SYSTEMS                            6/27/11         $5,433.40          $8,076.96           $19,955.33
    154371           IFCO SYSTEMS                            7/6/2011        $2,643.56


    154374           INTERSTATE PACKAGING                    7/6/2011       $40,133.00         $40,133.00           $33,433.00

    154368           INTERSTATE WAREHOUSING                  7/6/2011        $9,559.55         $51,294.80           $95,438.75
    154312           INTERSTATE WAREHOUSING                  7/6/2011       $41,735.25



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                                                             Check/Wire   Check/Wire
 ChecklWire/ACH #                  Vendor Name                  Date       Amount       Total Payments     Amount Still Owed


154470              JBS DISTRIBUTION                        7/14/2011       $5,861.72          $5,861 72           $10,985.03

154075              JBS USA, INC                            6/27/11       $214,234.05      $4,393,253.03          $378,355.59
154110              JBS USA, INC                            6127/11        $71,607.15
154139              JBS USA, INC                            6/27/11       $226,248.40
154143              JBS USA, INC                            6/27/11       $137,697.57
154170              JBS USA, INC                            6/28/11       $184,753.95
154199              JBS USA, INC                            6/29/11       $143,401.26
154220              JBS USA, INC                            6/30/11        $70,070.26
154411              JBS USA, INC                            7/6/2011      $657,963.63
154415              JBS USA, INC                            7/8/2011      $422,365.72
154428              JBS USA, INC                            7/11/2011     $148,098.64
154433              JBS USA, INC                            7/12/2011     $216,105.14
154459              JBS USA, INC                            7/13/2011     $214,522.60
154469              JBS USA, INC                            7/14/2011     $291,619.41
154490              JBS USA, INC                            7/15/2011      $75,156.35
154515              JBS USA, INC                            7/18/2011      $63,631.96
154530              JBS USA, INC                            7/19/2011     $205,851.76
154546              JBS USA, INC                            7/20/2011     $201,805.24
154566              JBS USA, INC                            7/21/2011      $68,859.61
154653              JBS USA, INC                            7/25/2011     $162,946.50
154664              JBS USA, INC                            7/26/2011     $131,983.71
154725              JBS USA, INC                            7/28/2011      $75,036.65
154736              JBS USA, INC                            7/29/2011     $133,219.68

Wire                JBS USA, INC                            8/1/2011      $133,200.00
154758              JBS USA, INC                            8/2/2011      $142,873.79


154652              JOHN R MORREALE, INC.                   7/25/2011     $161,442.78        $161,442.78          $163,260.85


154214              KAISER PERMANENTE                       6/30/11        $36,154.93         $36,154.93           $28,361.12


154194              LANDSBERG                               6/29/11         $3,644.00          $9,509.00           $11,887.14
154379              LANDSBERG                               7/6/2011        $2,995.00
154689              LANDSBERG                               7/27/2011       $2,870.00


154380              LENERTZ INDUSTRIAL SUPPLY CO.,          7/6/2011       $10,007.55         $10,007.55           $24,809.86

154086              LINDE, INC.                             6/27/11        $12,319.09         $90,298.34          $108,686.27
154155              LINDE, INC.                             6/27/11        $11,958.88
154327              LINDE, INC.                             7/6/2011       $24,263.49
154501              LINDE, INC.                             7/18/2011      $41,756.88


154085              LIQUID ENVIRONMENTALSOLUTIONS           6/27/11         $1,550.00          $8,050.00            $4,475.00
154381              LIQUID ENVIRONMENTAL SOLUTIONS          7/6/2011        $1,850.00
154707              LIQUID ENVIRONMENTAL SOLUTIONS          7/27/2011       $3,100.00
154721              LIQUID ENVIRONMENTAL SOLUTIONS          7/28/2011       $1,550.00


154065              MAGELLAN FREIGHT LINES, LLC             6/27/11        $28,742.61        $171,216.07           $54,133.34
154189              MAGELLAN FREIGHT LINES, LLC             6/29/11        $33,602.35



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                                                                     ChecklWlre   ChecklWire
 CheckIWireIACH #                 Vendor Name                            Date      Amount       Total Payments     Amount Still Owed
154285              MAGELLAN FREIGHT LINES, LLC                     7/6/2011       $25645.59
154465              MAGELLAN FREIGHT LINES, LLC                     7/14/2011      $24,451.92
154561              MAGELLAN FREIGHT LINES, LLC                     7/21/2011      $26,049.44
154677              MAGELLAN FREIGHT LINES, LLC                     7/27/2011      $13,590.84
154777              MAGELLAN FREIGHT LINES, LLC                     8/3/2011       $19,133.32


154087              MAREL INC                                       6/27/11        $24678.13          $26,944.85           $19,579.88
154211              MAREL INC                                       6/30/11         $2,266.72


154068              MARSH USA INC.                                  6/27/11        $19,071.00         $19,071.00           $85,314.85

154150              MARTEN TRANSPORT SERVICE LTD                    6/27/11        $15,398.64         $15,398.64           $39,518.15

154116              Metro Water Service                             6/27/11        $11,469.40         $11,469.40           $24,338.25

154076              MIDWEST FREIGHT SERVICE                         6/27/11         $1,868.93         $22,533.54           $33,038.50
154172              MIDWEST FREIGHT SERVICE                         6/28/11         $5,835.05
154290              MIDWEST FREIGHT SERVICE                         7/6/2011        $4,662.63
154508              MIDWEST FREIGHT SERVICE                         7/18/2011       $6,838.23
154547              MIDWEST FREIGHT SERVICE                         7/20/2011       $3,328.70


154272              Minor& Brown                                    7/5/2011          $158.00         $15,158.00              $829.50
1285                Minor & Brown                                   8/9/11         $15,000.00

12476               MOUNTAIN CITY      -   DENVER                   7/26/2011      $30,000.00         $30,000.00                $0.00

154094              MULTIVAC, INC.                                  6/27/11         $8,885.98         $16,682.52           $10,352.09
154333              MULTIVAC, INC.                                  7/6/2011        $3,463.95
154624              MULTIVAC, INC.                                  7/21/2011         $920.00
154719              MULTIVAC, INC.                                  7/28/2011       $3,412.59


154114              Nashville Electric Service                      6/27/11        $24,319.37         $63,547.34           $55,404.91
154276              Nashville Electric Service                      7/5/2011           $32.02
154645              Nashville Electric Service                      7/25/2011      $39,195.95


154111              NATIONAL BEEF PACKING CO., LLC                  6/27/11        $81,486.84      $1,024,849.43          $290,903.85
154173              NATIONAL BEEF PACKING CO., LLC                  6/28/11       $117,861.72
154200              NATIONAL BEEF PACKING CO., LLC                  6/29/11        $40,727.00
154221              NATIONAL BEEF PACKING CO., LLC                  6/30/11       $113,907.90
154291              NATIONAL BEEF PACKING CO., LLC                  7/6/2011      $123,115.26
154418              NATIONAL BEEF PACKING CO., LLC                  7/11/2011     $143,506.52
154531              NATIONAL BEEF PACKING CO., LLC                  7/19/2011     $167,431.75
154548              NATIONAL BEEF PACKING CO., LLC                  7/20/2011      $36,086.20
154654              NATIONAL BEEF PACKING CO., LLC                  7/25/2011      $73,213.98
154666              NATIONAL BEEF PACKING CO., LLC                  7/26/2011      $14,682.00
154742              NATIONAL BEEF PACKING CO., LLC                  8/1/2011      $112,830.26


154095              NATUREX INC.                                    6/27/11        $16,703.74        $16,703.74                 $0.00

154077              NAVAJO                                          6/27/11         $9,075.04        $26,246.88            $12,124.94


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                                                            Check/Wire   Check/Wire
 Check/Wire/ACH #                   Vendor Name                 Date      Amount       Total Payments     Amount Still Owed
154292              NAVAJO                                 7/6/2011       $14,020.60
154549              NAVAJO                                 7/20/2011       $3,151.24


154258              NOVAMARK                               7/5/2011       $69,183.42         $69,183.42          $109,471.80

154078              ORLEANS tNT. CO. INC                   6/27/li        $80,828.40      $6,214,410.13        $1,744,721.45
154140              ORLEANS INT. CO. INC                   6/27/11       $241,566.87
154161              ORLEANS NT. CO. INC                    6/27/1 1      $319,557.00
154174              ORLEANS NT. CO. INC                    6/28/1 1      $125,084.16
154236              ORLEANS INT. CO. INC                   7/1/2011      $155,866.80
154281              ORLEANS INT. CO. INC                   7/5/2011      $466,925.79
154293              ORLEANS NT. CO. INC                    7/6/2011      $366,194.52
154426              ORLEANS NT. CO. INC                    7/11/2011     $242,793.12
154432              ORLEANS INT. CO. INC                   7/12/2011     $279,595.00
154471              ORLEANS INT. CO. INC                   7/14/2011     $482,481.00
154489              ORLEANS INT. CO. INC                   7/15/2011     $453,375.00
154516              ORLEANS INT. CO. INC                   7/18/2011     $240,786.00
154527              ORLEANS INT. CO. INC                   7/19/2011     $321,934.94
154555              ORLEANS INT. CO. INC                   7/20/2011     $521,529.91
154567              ORLEANS NT. CO. INC                    7/21/2011     $182,243.04
154635              ORLEANS NT. CO. INC                    7/22/2011     $151,281.00
154655              ORLEANS INT. CO. INC                   7/25/2011     $394,407.00
154670              ORLEANS INT. CO. INC                   7/26/2011     $582,643.30
154708              ORLEANS INT. CO. INC                   7/27/2011     $340,330.76
154717              ORLEANS INT. CO. INC                   7/28/2011      $77,220.00
154735              ORLEANS INT. CO. INC                   7/29/2011      $78,039.00
154762              ORLEANS NT. CO. INC                    8/2/2011      $109,727.52


154266              OUTWEST MEAT COMPANY                   7/5/20 1 1      $7,657.13          $7,657.13                $0.00


1221                Payroll                                6/27/11           $314.50      $1,591,619.17                $0.00
1239                Payroll                                6/28/11             $0.00
1204                Payroll                                6/28/11            $25.00
1234                Payroll                                6/28/11            $25.00
1229                Payroll                                6/29/11            $50.00
1226                Payroll                                6/30/1 1           $50.00
1227                Payroll                                6/30/11            $50.00
1230                Payroll                                7/1/11             $25.00
1233                Payroll                                7/1/11             $25.00
1240                Payroll                                7/1/11             $25.00
1225                Payroll                                7/1/11             $50.00
12439               Payroll                                7/1/2011          $273.99
154278              Payroll                                7/5/2011          $864.79
1224                Payroll                                7/5/11             $25.00
1238                Payroll                                7/5/11             $25.00
1228                Payroll                                7/5/11             $50.00
1236                Payroll                                7/6/11             $25.00
Wire                Payroll                                7/6/2011      $256,504.90
Wire                Payroll                                7/7/2011       $72,964.38
1223                Payroll                                7/8/11             $25.00


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                                                     ChecklWire   ChecklWire    I
 Check/Wire/ACH #             Vendor Name               Date       Amount           Total Payments   Amount Still Owed
1237                Payroll                         7/8/11             $25.00
1235                Payroll                         7/11/11            $25.00
13303               Payroll                         7/11/2011         $120.72
13300               Payroll                         7/11/2011         $144.06
13301               Payroll                         7/11/2011         $164.17
12441               Payroll                         7/11/2011         $754.80
12442               Payroll                         7/11/2011       $2,316.60
Wire                Payroll                         7/13/2011     $230,057.90
Wire                Payroll                         7/14/2011      $62,519.28
154484              Payroll                         7/15/2011       $1,007.29
154477              Payroll                         7/15/2011       $3,016.16
154475              Payroll                         7/15/2011       $5,322.74
154476              Payroll                         7/15/2011      $11,852.77
12451               Payroll                         7/15/2011         $208.71
12446               Payroll                         7/15/2011         $241.11
12447               Payroll                         7/15/2011         $241.90
12449               Payroll                         7/15/2011         $245.07
12443               Payroll                         7/15/2011         $250.23
12448               Payroll                         7/15/2011         $310.76
12445               Payroll                         7/15/2011         $322.27
12444               Payroll                         7/15/2011         $323.06
124252              Payroll                         7/15/2011         $368.12
12450               Payroll                         7/15/2011       $1,202.30

Wire                Payroll                         7/17/2011     $243,965.77
124253              Payroll                         7118/2011         $175.00
124254              Payroll                         7/18/2011         $313.91

1242                Payroll                         7/18/11           $400.00
1245                Payroll                         7/18/11           $400.00
124255              Payroll                         7/19/2011         $101.19

1243                Payroll                         7/19/1 1          $400.00
1244                Payroll                         7/19/11           $400.00
Wire                Payroll                         7/20/2011        -$348.70
1231                Payroll                         7/20/11            $25.00
1246                Payroll                         7/20/11        $80,000.00
Wire                Payroll                         7/20/2011     $243,617.07
154632              Payroll                         7/21/2011         $628.35
Wire                Payroll                         7/22/2011        -$106.36
Wire                Payroll                         7/24/2011     $212,805.10
12467               Payroll                         7/25/2011          $15.94
12465               Payroll                         7/25/2011          $18.81
12459               Payroll                         7/25/2011          $18.82
12458               Payroll                         7/25/2011          $18.89
12457               Payroll                         7/25/2011          $19.10
12466               Payroll                         7/25/2011          $20.96
12463               Payroll                         7/25/2011          $22.44
12464               Payroll                         7/25/2011          $26.39
12461               Payroll                         7/25/2011          $38.25
12462               Payroll                         7/25/2011          $38.44
12460               Payroll                         7/25/2011          $43.34
12475               Payroll                         7/25/2011          $92.29



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                                                       ChecklWire   ChecklWire
 CheckRNireIACH #             Vendor Name                 Date       Amount        Total Payments   Amount Still Owed
12468               Payroll                           7/25/2011          $292.17
12473               Payroll                           7/25/2011          $377.40
12469               Payroll                           7/25/2011          $458.00
12470               Payroll                           7/25/2011          $458.00
12471               Payroll                           7/25/2011          $458.00
12472               Payroll                           7/25/2011          $458.00
12474               Payroll                           7/25/2011          $485.03
Wire                Payroll                           7/26/2011       -$2,683.67
Wire                Payroll                           7/26/2011          -$55.11
1251                Payroll                           7/26/11           $402.83
Wire                Payroll                           7/2712011     $212,805.10
1261                Payroll                           7/28/11             $25.00
1264                Payroll                           7/28/11             $50.00
1281                Payroll                           7/28/11           $150.00
12477               Payroll                           7/28/2011         $292.13
Wire                Payroll                           7/28/2011       $67,411.75

Wire                Payroll                           7/29/2011          -$27.65
1222                Payroll                           7/29/11             $25.00
1250                Payroll                           7/29/11             $25.00
1252                Payroll                           7/29/11             $25.00
1267                Payroll                           7/29/11             $36.79
1265                Payroll                           7/29/11             $50.00
1266                Payroll                           7/29/11             $50.00
1270                Payroll                           7/29/11             $75.00
1282                Payroll                           7/29/11           $150.00
1232                Payroll                           8/1/11              $25.00
1253                Payroll                           8/1/11              $25.00
1255                Payroll                           8/1/11              $25.00
1259                Payroll                           8/1/11              $25.00
1260                Payroll                           8/1/11              $25.00
1269                Payroll                           8/1/11              $75.00
1273                Payroll                           8/1/11              $75.00
1277                Payroll                           8/1/11              $75.00
1278                Payroll                           8/1/11              $75.00
1258                Payroll                           8/2/11              $25.00
1276                Payroll                           8/2/11              $75.00
Wire                Payroll                           8/3/2011          -$239.09
1247                Payroll                           8/3/11             $25.00
1257                Payroll                           8/3/11             $25.00
154767              Payroll                           8/3/2011           $40.00
1272                Payroll                           8/3/11             $75.00
1275                Payroll                           8/3/11             $75.00
154769              Payroll                           8/3/2011          $200.00
1283                Payroll                           8/3/11            $596.24
Wire                Payroll                           8/4/2011      -$207,887.76
1248                Payroll                           8/4/11             $25.00
1263                Payroll                           8/4/11             $50.00
1271                Payroll                           8/4/11             $75.00
1280                Payroll                           8/4/11            $150.00
Wire                Payroll                           8/4/2011       $58,349.77


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                                                             Check/Wire   ChecklWire
 ChecklWire/ACH #                   Vendor Name                 Date       Amount       Total Payments     Amount Still Owed
1256                Payroll                                 8/5/11             $25.00
1274                Payroll                                 8/5/11             $75.00
12487               Payroll                                 8/5/2011          $317.93
12486               Payroll                                 8/5/2011          $373.91
12485               Payroll                                 8/5/2011       $10,560.00
1254                Payroll                                 8/10/11            $25.00
1268                Payroll                                 8/10/11            $75.00
Wire                Payroll                                 8/11/2011       $3,499.67

Wire                Payroll                                 8/11/2011       $7,202.15


154134              PACKAGING CORPORATION OFAMERI           6/27/11        $11,111.46         $26,850.82           $55,431.59
154392              PACKAGING CORPORATION OFAMERI           7/6/2011       $12,368.20
154602              PACKAGING CORPORATION OFAMERI           7/21/2011       $3,371.16


154388              PALLET WAREHOUSE INC                    7/6/2011       $10,017.00         $12,231.25           $12,370.05
154430              PALLET WAREHOUSE INC                    7/12/2011         $514.25
154603              PALLET WAREHOUSE INC                    7/21/2011       $1,700.00


154438              PINNACOL ASSURANCE                      7/12/2011      $29,181.64         $29,181.64                $0.00


154135              PRATT INDUSTRIES USA                    6/27/11         $2,700.00         $14,451.88           $24,429.81
154389              PRATT INDUSTRIES USA                    7/6/2011       $11,751.88


154122              PRIMESOURCE STAFFING                    6/27/11         $5,595.79         $16,001.02           $43,698.52
154395              PRIMESOURCE STAFFING                    7/6/2011        $5,053.96
154536              PRIMESOURCE STAFFING                    7/19/2011       $5,351.27


154218              PRINCETON FUND, LLC                     6/30/11        $11,502.05         $11,502.05           $23,004.10


154364              PROVISURTECH/FORMAX INC.                7/6/2011       $21,206.14         $21,206.14           $73,717.73


154482              QVEST, LLC                              7/15/2011      $14,489.00         $46,204.80          $118,063.00
154673              QVEST, LLC                              7/26/2011      $31,715.80


154071              QWEST                                   6/27/11         $3,563.09          $9,619.78              $626.11
154118              QWEST                                   6/27/11         $2,215.34
154424              QWEST                                   7/11/2011         $278.26
154495              QWEST                                   7/18/2011       $3,563.09


154473              RED KITE RECRUITING                     7/14/2011      $37,125.00         $37,125.00                $0.00

154101              RELIANT GASES, LTD.                     6/27/11        $21,044.50         $33,767.23                $0.00
154328              RELIANT GASES, LTD.                     7/6/2011        $8,411.01
154520              RELIANT GASES, LTD.                     7/18/2011       $4,311.72


154120              ROBERT HALF INTERNATIONAL,INC.          6/27/11        $16,250.00         $16,250.00                $0.00

154294              ROCKY MOUNTAIN NATURAL MEATS            7/6/2011       $11,148.72         $11,148.72                $0.00

154481              ROPES & GRAY LLP                        7/15/2011      $25,000.00         $25,000.00          $121,505.50


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                                                           ChecklWlre   ChecklWlre
 ChecklWire!ACH #                   Vendor Name               Date       Amount       Total Payments     Amount Still Owed

154206              SHEPHERD ENTERPRISES,LTD.             6/30/11        $15,103.97        $107,197.12           $81,205.55
154405              SHEPHERD ENTERPRISES,LTD.             7/7/2011       $27,770.25
154467              SHEPHERD ENTERPRISES,LTD.             7/14/2011      $16,866.02
154630              SHEPHERD ENTERPRISES,LTD.             7/21/2011      $17,274.35
154712              SHEPHERD ENTERPRISES,LTD.             7/28/2011      $30,182.53


154127              SOURCE MANAGEMENT,INC.                6/27/11         $3,666.45          $8,221.33            $4,619.89
154631              SOURCE MANAGEMENT,INC.                7/21/2011       $4,554.88


154397              STANLEY FARMS                         7/6/2011       $12,474.00         $12,474.00                $0.00


154126              Stephen Gould                         6/27/11        $15,037.95         $15,037.95           $16,257.97


154419              STILLMAN MEAT CO.                     7/11/2011       $6,806.63         $10,103.10              $987.64
154510              STILLMAN MEAT CO.                     7/18/2011         $298.11
154532              STILLMAN MEAT CO.                     7/19/2011         $461.68
154656              STILLMAN MEAT CO.                     7/25/2011       $1,779.78
154683              STILLMAN MEAT CO.                     7/27/2011         $756.90


154274              SUTHERLAND                            7/5/2011       $19,452.40         $20,191.66                $0.00
154542              SUTHERLAND                            7/20/2011         $739.26


                    SYSCO                                 7/15)2011      $32,865.00         $32,865.00                $0.00
Wire

154084              TEAM PACKAGING                        6/27/11        $63,797.53        $253,276.00          $379,648.57
154239              TEAM PACKAGING                        7/1/2011      $111,791.63
154519              TEAM PACKAGING                        7/18/2011      $45,637.04
154610              TEAM PACKAGING                        7/21/2011      $32,049.80


154080              TEMPERATURE CONTROLLED                6/27/11           $922.80         $60,499.78          $112,500.80
154175              TEMPERATURE CONTROLLED                6/25/11        $14,112.00
154222              TEMPERATURE CONTROLLED                6/30/11         $2,665.00
154296              TEMPERATURE CONTROLLED                7/6/2011       $18,363.42
154435              TEMPERATURE CONTROLLED                7/12/2011       $6,759.60
154550              TEMPERATURE CONTROLLED                7/20/2011       $6,490.18
154568              TEMPERATURE CONTROLLED                7/21/2011      $11,186.78


154125              TEMPLE-INLAND                         6/27/11        $22,916.41         $98,589.51          $213,781.50
154240              TEMPLE-INLAND                         7/1/2011       $28,101.94
154320              TEMPLE-INLAND                         7/6/2011       $13,732.54
154528              TEMPLE-iNLAND                         7/19/2011      $31,338.62
12484               TEMPLE-INLAND                         8/4/2011        $2,500.00


154079              TOTAL QUALITY LOGISTICS               6/27/11         $5,949.75        $119,112.49          $248,085.74
154112              TOTAL QUALITY LOGISTICS               6/27/11         $9,606.99
154201              TOTAL QUALITY LOGISTICS               6/29/11        $22,036.00
154223              TOTAL QUALITY LOGISTICS               6/30/11        $10,882.00
154295              TOTAL QUALITY LOGISTICS               7/6/2011       $24,418.75
154434              TOTAL QUALITY LOGISTICS               7/12/2011      $21,537.00



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E Check!W1reIACH #                  Vendor Name
                                                                 ChecklWire
                                                                     Date      Amount       Total Payments     Amount Still Owed
154460               TOTAL QUALITY LOGISTICS                    7/13/2011      $24,682.00


154455               TYSON FRESH MEATS                          7/13/2011      $52,451.12         $52,451.12                $0.00

154128               UNISOURCE                                  6/27/11        $23,059.25         $28,919.92           $59,271.56
154176               UNISOURCE                                  6/28/11         $2,438.77
154338               UNISQURCE                                  7/6/2011        $3,421.90


154642               UNITED HEALTH CARE INSURANCE CO.           7/23/2011      $22,914.86         $22,914.86            $8,546.78

154104               VERIZON WIRELESS                           6/27/11         $5,585.88         $11,803.39            $4,109.02
154640               VERIZON WIRELESS                           7/23/2011       $6,217.51


154442               Waste Management                           7/12/2011       $4,603.85         $15,924.16            $2,513.16
154483               Waste Management                           7/15/2011      $11,320.31


154067               WAYPOINT LOGISTICS, LLC                    6/27/11        $58,553.67        $242,257.86          $187,510.26
154190               WAYPOINT LOGISTICS, LLC                    6/29/11        $26,766.83
154286               WAYPOINT LOGISTICS, LLC                    7/6/2011       $23,693.53
154462               WAYPOINT LOGISTICS, LLC                    7/14/2011      $26,252.44
154539               WAYPOINT LOGISTICS, LLC                    7/20/2011      $16,289.12
154558               WAYPOINT LOGISTICS, LLC                    7/21/2011       $6,696.98
154675               WAYPOINT LOGISTICS, LLC                    7/27/2011       $8,600.66
154733               WAYPOINT LOGISTICS, LLC                    7/29/2011      $32,707.36
154753               WAYPOINT LOGISTICS, LLC                    8/1/2011       $21,325.51
154775               WAYPOINT LOGISTICS, LLC                    8/3/2011       $21,371.76


154486               WAZEE COMPANIES, LLC                      7/15/2011        $6,326.93          $6,326.93            $3,688.80

154402               WESTERN FLEET SERVICES, INC.              7/7/2011         $7,786.38         $25,924.86           $28,667.55
154551               WESTERN FLEET SERVICES, INC.              7/20/2011       $12,317.83
154628               WESTERN FLEET SERVICES, INC.              7/21/2011        $5,820.65


154081               WOLVERINE PACKING CO                      6/27/11         $68,961.63      $2,559,227.39          $843,981.99
154141               WOLVERINE PACKING CO                      6/27/11         $31,463.69
154144               WOLVERINE PACKING CO                      6/27/11        $108,994.62
154202               WOLVERINE PACKING CO                      6/29/11        $153,131.66
154217               WOLVERINE PACKING CO                      6/30/11        $152,302.96
154279               WOLVERINE PACKING CO                      7/5/2011       $351,334.63
154297               WOLVERINE PACKING CO                      7/6/2011        $51,459.64
154453               WOLVERINE PACKING CO                      7/13/2011      $256,662.75
154472               WOLVERINE PACKING CO                      7/14/2011      $129,049.97
154513               WOLVERINE PACKING CO                      7/18/2011      $282,885.05
154657               WOLVERINE PACKING CO                      7/25/2011       $79,555.06
154715               WOLVERINE PACKING CO                      7/28/2011      $267,822.80
154734               WOLVERINE PACKING CO                      7/29/2011      $339,241.37
154744               WOLVERINE PACKING CO                      8/1/2011       $151,917.14
154759               WOLVERINE PACKING CO                      8/2/2011        $75,681.27
154786               WOLVERINE PACKING CO                      8/3/2011        $58,763.15




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L!ck1Wire1ACH #                  Vendor Name                Date      Amount       Total Payments     Amount Still Owed
Wire              WP CAREY                             7/6/2011       $56,207.83        $123,974.97           $48,528.70
Wire              WP CAREY                             7/6/2011       $67,767.14


154069            XCEL ENERGY                          6/27/11        $54,155.26        $116,975.17           $47,085.93
154494            XCEL ENERGY                          7/18/2011      $62,819.91


154145            XL MEATS                             6/27/11        $98,560.50        $723,166.73          $349,060.46
154203            XL MEATS                             6/29/11       $104,476.69
154280            XLMEATS                              7/5/2011      $159,775.99
154298            XL MEATS                             7/6/2011       $39,698.29
154420            XL MEATS                             7/11/2011      $78,170.06
154436            XLMEATS                              7/12/2011      $37,993.98
154456            XL MEATS                             7/13/2011      $95,269.18
154525            XL MEATS                             7/18/2011      $38,317.71
154533            XL MEATS                             7/19/2011      $70,904.33


154193            XTRA COMPANIES, INC.                 6/29/11         $5,535.64          $7,332.96           $12,361.07
154619            XTRA COMPANIES, INC.                 7/21/2011       $1,797.32


                  Grand Total                                                      $24,668,876.60       $8,185,213.95




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                                                             STATEMENT OF FINANCIAL AFFMRS



NAME                                 ADDRESS               CITY           STATE ZIP          DATE OF SET-    TOTAL         TOTAL
                                                                                                      OFF                AMOUNT OF
                                                                                                                          SET-OFF
LINCOLN POULTRY                      P0 BOX 83013          LINCOLN       NE     68501-3013       7/30/2011       $288
                                     Afl: ACCTS PAYABLE                                           8/8/2011       $819
LINCOLN POULTRY Total                                                                                                         $1,107
OUTWEST MEAT COMPANY                 300W BONANZA RD       Las Vegas     NV     59106             07/07/11        $317
                                                                                                  07/26/11      $7,579
                                                                                                  07/28/11      $1,181
                                                                                                  08/02/11     $13,090
                                                                                                  08/04/11     $18,240
                                                                                                  08/09/11        $389
                                                                                                 7/28/2011     $12,422
                                                                                                 7/30/2011     $17,985
                                                                                                 8/24/2011     $19,121
                                                                                                 9/14/2011        $257
OUTWEST MEAT COMPANY Total                                                                                                   $90,581
SYSCO ARIZONA                        P0 BOX 23430          TOLLESON      AZ     85353-4023        07/06/11      $1,180
                                                                                                  07/13/11        $578
                                                                                                 7/14/2011        $291
                                                                                                  7/2/2011     $24,031
                                                                                                 7/21/2011      $5,628
                                                                                                 8/31/2011     $36,808
SYSCO ARIZONA Total                                                                                                          $68,516
SYSCO DENVER- CO                     5000 BEELER STREET    DENVER        CO     80238             06/29/11        $441
                                                                                                  07/11/11      $4,954
                                                                                                                                       Case:11-32656-HRT Doc#:94 Filed:10/11/11




                                                                                                  07/19/11        $754
                                                                                                  07/25/11      $5,556
                                                                                                  07/26/11      $5,058
                                                                                                  07/29/11     $25,094
                                                                                                  08/01/11        $959
                                                                                                  08/22/11      $2,185
                                                                                                 7/14/2011        $212
SYSCO   DENVER- CO Total                                                                                                     $45,213
SYSCO   INT’L FOOD GROUP INC         SUITE 240             PLANT CITY    FL     33566             9/2/2011      $3,430
SYSCO   INT’L FOOD GROUP INC Total                                                                                            $3,430
SYSCO   INTERMOUNTAIN UT             P.O. BOX 27638        SALT LAKE CITY UT    84127             08/04/11       $276
                                                                                                 7/14/2011       $368
SYSCO INTERMOUNTAIN UT Total                                                                                                   $643
SYSCO MT                             P.O. BOX 31198        BILLINGS      MT     59107             07/26/11     $14,021
                                                                                                  08/09/11     $10,056
                                                                                                 7/14/2011        $124
                                                                                                  7/2/2011     $10,677
                                                                                                 7/28/2011     $10,881
                                                                                                 7/30/2011     $12,968
                                                                                                 8/31/2011      $3,100
SYSCO   MT Total                                                                                                             $61,827
SYSCO   NASHVILLE TN                 ONE HERMITAGE PLAZA   NASHVILLE     TN     37209            7/14/2011       $102
SYSCO   NASHVILLE TN Total                                                                                                     $102
SYSCO   NM                           601 COMANCHE ROAD, NE ALBUQUERQUE NM       87107             07/28/11     $12,506
                                                                                                                                       Entered:10/11/11 18:21:16 Page24 of 31
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                                                     STATEMENT OF FINANCIAL AFFAIRS



NAME                        ADDRESS                CITY          STATE ZIP             DATE OF SET-    TOTAL         TOTAL
                                                                                               OFF                 AMOUNT OF
                                                                                                                    SET-OFF
                                                                                            08/01/11      $4,606
                                                                                            08/04/11     $13,615
                                                                                            08/08/11     $17,044
                                                                                           7/14/2011      $5,432
                                                                                           7/22/2011      $4,075
SYSCO   NM Total                                                                                                       $57,278
SYSCO   SAN ANTONIO         P0 BOX 18364           SAN ANTONIO   TX       78218-0364       8/31/2011     $20,910
SYSCO   SAN ANTONIO Total                                                                                              $20,910
SYSCO   SEATTLE             22820 54TH AVE SOUTH   KENT          WA       98032             07/01/11      $3,445
                                                                                            07/08/11      $1,157
                                                                                            08/05/11     $42,980
                                                                                           7/14/2011         $71
                                                                                           8/31/2011     $50,467
SYSCO SEATTLE Total                                                                                                    $98,119
SYSCO WATSON TX             P0 BOX 560610          LEWISVILLE    TX       75056            8/31/2011     $11,792
SYSCO WATSON TX Total                                                                                                  $11,792
USFS ALBANY NY              P.O. BOX 29278         PHEONIX       AZ       85038             07/29/11        S437
                                                                                           7/25/2011        $272
                                                                                           7/30/2011      $9,593
                                                                                           9/16/2011         $51
USFS ALBANY NY Total                                                                                                   $10,353
USFS ALBUQUERQUE            P0 BOX 29283           PHOENIX       AZ       85038-9283       7/30/2011      $2,192
                                                                                           9/16/2011        $153
                                                                                                                                 Case:11-32656-HRT Doc#:94 Filed:10/11/11




                                                                                           9/23/2011        $271
USFS ALBUQUERQUE Total                                                                                                  $2,616
USFS ALTOONA PA             P0 BOX 29283           PHOENIX       AZ       85038-9283        08/05/11      $4,096
                                                                                            08/15/11        $636
                                                                                           7/19/2011      $7,170
                                                                                           7/21/2011      $5,499
                                                                                           7/25/2011      $1,434
                                                                                           9/16/2011        $305
USFS ALTOONA PA Total                                                                                                  $19,140
USFS BRIDGEPORT             P0 BOX 29292           PHOENIX       AZ       85038-9292        08/05/11      $1,319
                                                                                           7/21/2011     $21,407
                                                                                           9/16/2011        $212
USFS BRIDGEPORT Total                                                                                                  $22,938
USFS BUFFALO NY             P0 BOX 29283           PHOENIX       AZ       85038-9283       07/22/11      $18,222
                                                                                           07/29/11       $2,235
                                                                                           08/15/11       $2,265
                                                                                          7/30/2011       $5,392
                                                                                          9/16/2011         $247
USFS BUFFALO NY Total                                                                                                  $28,362
USFS CINCINNATI             P0 BOX 29283           PHOENIX       AZ       85038            08/16/11        $943
                            ATTN: ACCTS PAYABLE                                           7/30/2011        $182
                                                                                          9/16/2011        $192
USFS CINCINNATI Total                                                                                                   $1,317
USFS DENVER CO              P0 BOX 29283           PHOENIX       AZ       85038-9283        07/05/11       $310
                                                                                                                                 Entered:10/11/11 18:21:16 Page25 of 31




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NAME                          ADDRESS              CITY            STATE ZIP             DATE OF SET-’   TOTAL         TOTAL
                                                                                                  OFF                AMOUNT OF
                                                                                                                      SET-OFF
                                                                                              07/12/11        $299
                                                                                              07/29/11      $1,039
                                                                                              08/19/11     $11,636
                                                                                             7/21/2011     $23,468
                                                                                             7/30/2011      $2,457
                                                                                              8/8/2011        $650
                                                                                             9/16/2011        $844
                                                                                              9/8/2011     $18,312
USFS DENVER CO Total                                                                                                     $59,015
USFS FLORIDA                  P0 BOX 29283         PHOENIX        AZ        85038-9283       7/22/2011     $22,630
                                                                                             7/28/2011      $7,418
                                                                                             7/30/2011      $1,442
                                                                                             9/16/2011        $318
USFS   FLORIDA Total                                                                                                     $31,808
USFS   GRAND FORKS            P0 BOX 29283         PHOENIX        AZ        85038-9283       7/30/2011      $2,180
USFS   GRAND FORKS Total                                                                                                  $2,180
USFS   GREENSBURG PA          WIRE                 PHOENIX 7      AZ        85038-9283        07/15/11     $11,800
                              P0 BOX 29283                                                    08/05/11        $882
                                                                                              08/15/11      $7,596
                                                                                             7/28/2011     $15,763
                                                                                             7/30/2011      $5,239
                                                                                             9/16/2011         $68
USFS GREENSBURG PA Total                                                                                                 $41,348
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USFS INDIANAPOLIS- IN         JENNIFER             PHOENIX        AZ        85044            7/30/2011        $77
                              1O41OS5OTH PLACE                                               9/19/2011       $323
USFS INDIANAPOLIS- IN Total                                                                                                $400
USFS JACKSON MS               P0 BOX 29283          PHOENIX       AZ        85038             07/11/11      $2,650
                              ATTN: ACCOUNTS PAYABLE                                          07/25/11        $432
                                                                                              08/08/11     $11,164
                                                                                             7/30/2011        $112
                                                                                             9/19/2011        $240
USFS   JACKSON MS Total                                                                                                  $14,599
USFS   MEMPHIS                P0 BOX 29283         PHOENIX        AZ        85038-9283       9/19/2011       $118
USFS   MEMPHIS Total                                                                                                       $118
USFS   MONTGOMERY AL          P0 BOX 29283         PHOENIX        AZ        85038-9283        07/22/11     $22,197
                                                                                              08/05/11        $525
                                                                                             7/25/2011      $3,616
                                                                                             7/28/2011     $22,049
                                                                                             7/30/2011     $24,024
                                                                                             8/16/2011      $5,425
                                                                                             9/19/2011        $136
USFS MONTGOMERY AL Total                                                                                                 $77,972
USFS NORWICH CT               P0 BOX 29283         PHOENIX        AZ        85038-9283       7/30/2011         $30
                                                                                             9/19/2011        $641
                                                                                              9/8/2011     $23,249
USFS NORWICH CT Total                                                                                                    523.920
                                                                                                                                   Entered:10/11/11 18:21:16 Page26 of 31




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                                                         STATEMENT OF I9NANCIAL AFFAIRS

NAME                             ADDRESS               CITY         STATE ZIP                DATE OF SET-    TOTAL           TOTAL
                                                                                                      OFF                  AMOUNT OF
                                                                                                                            SET-OFF
                                 10410 S. 50TH PL
USFS OMAHA-NE                    ACCT PAYABLE          PHOENIX     AZ        85044               9/19/2011           $98
USFS OMAHA-NE Total                                                                                                                $98
USFS PEABODY, MA                 USFS PEABODY, MA      PHOENIX     AZ        85038-9283          7/30/2011        $188
                                 P0 BOX 29283                                                    9/19/2011      $1,005
                                                                                                  9/8/2011     $11,635
USFS   PEABODY, MA Total                                                                                                       $12,828
USFS   RENO NV                   P0 BOX 29283          PHOENIX     AZ        85038-9283          9/19/2011        $248
USFS   RENO NV Total                                                                                                             $248
USFS   SALEM MO                  P0 BOX 29283          PHOENIX     AZ        85038-9283           07/16/11      $2,167
                                                                                                  07/29/11        $440
                                                                                                 7/28/2011     $25,275
                                                                                                 7/30/2011        $133
                                                                                                 9/19/2011         $49
USFS SALEM MO Total                                                                                                            $28,064
USFS SALT LAKE                   P0 BOX 29283          PHOENIX     AZ        85038-9283          07/29/11         $637
                                                                                                7/28/2011       $8,040
                                                                                                7/30/2011      $11,679
                                                                                                9/19/2011         $360
                                                                                                 9/8/2011       $7,009
USFS SALT LAKE Total                                                                                                           $27,724
USFS SEATTLE                     P0 BOX 29283          PHOENIX     AZ        85038               07/29/11         $256
                                                                                                7/30/2011      $10,028
                                                                                                                                         Case:11-32656-HRT Doc#:94 Filed:10/11/11




                                                                                                9/19/2011          $51
USFS SEATTLE Total                                                                                                             $10,335
USFS STOCK YARDS SEATTLE         Stockyards Seattle    PHOENIX     AZ        85038-9283          07/15/11         $580
                                 P0Box29283                                                     7/28/2011         $195
                                                                                                9/19/2011         $458
                                                                                                 9/8/2011       $4,059
USFS STOCK YARDS SEATTLE Total                                                                                                  $5,292
USFS STREATOR IL                 P0 BOX 29283          PHOENIX     AZ        85038-9283          07/08/11         $358
                                                                                                 07/15/11         $995
                                                                                                7/30/2011       $5,852
                                                                                                9/19/2011         $190
USFS STREATOR IL Total                                                                                                          $7,396
USFS(alliant)TAMPA               P0 BOX 29283          PHOENIX     AZ        85038-9283         9/19/2011        $502
USFS(alliant)TAMPA Total                                                                                                         $502
Y. HATA & CO LTD                 285 SAND ISLAND ACCESS HONOLULU   HI        96819              7/14/2011       $1,535
                                                                                                 9/8/2011       $5,497
Y. HATA & CO LTD Total                                                                                                          $7,032
BEN E. KEITH EDMOND, OK          P0 BOX 8170           EDMOND      OK        73083-81 70         08/05/11       $5,518
BEN E. KEITH EDMOND, OK Total                                                                                                  $5,518

NIMAN RANCH INC.                 1600 HARBOR BAY PRKWY ALAMEDA     CA                94502       07/07/11       $8,246
                                 SUITE 250                                                       07/22/11       $3,796
                                                                                                 07/27/11       $2,080
                                                                                                 08/03/11       $6,926
                                                                                                                                         Entered:10/11/11 18:21:16 Page27 of 31




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NAME                         ADDRESS            CITY          STATE ZIP             DATE OF SET-    TOTAL         TOTAL
                                                                                             OFF                AMOUNT OF
                                                                                                                 SET-OFF
NIMAN RANCH INC. Total                                                                                              $21,048
REINHART FOODSERVICE         P0 BOX 0728        LA CROSSE     WI       54602-0728        08/08/11     $10,000
REINHART FOODSERVICE Total                                                                                          $10,000
                             26250 SW PARKWAY
SYSCO PORTLAND OR            CENTER DRIVE       WILSONVILLE   OR       97070-7788        08/12/11      $1,517
SYSCO PORTLAND OR Total                                                                                              $1,517
USFS BOCA RATON- FL          P0 BOX 29283       BOCA RATON    FL       33487             07/29/11      $1,344
USFS BOCA RATON- FL Total                                                                                            $1,344
                             P0 BOX 29283
                             AUN: ACCOUNTS
USFS PORT ORANGE             PAYABLE            PHOENIX       AZ       85038            08/26/11       $1,035
USFS PORT ORANGE Total                                                                                               $1,035
Grand Total                                                                                         $935,586      $935,586
                                                                                                                              Case:11-32656-HRT Doc#:94 Filed:10/11/11
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                                                                EXHIBIT 19(d)
                                                        STATEMENT OF FINANCIAL AFFAIRS



NAME                             ADDRESS                           CITY               STATE   ZIP           DATE ISSUED
FIFTH THIRD BANK                 1225 17TH STREET, SUITE 1825      DENVER             CO      80202         July2011
JBS USA, INC                     1770 PROMONTORY CIRCLE            GREELEY            Co      80634         July2011
CARGILL                          P0 BOX 2519                       WICHITA            KS      67201-1410    July 2010
ORLEANS INT. CO. INC             30600 NORTHWESTERN HWY. SUITE     FARMINGTON HILLS   MI      48334         November2010
BEEF PRODUCTS INC.               P.O. BOX 8065                     DES MOINES         IA      50301         March 2011
GREATER OMAHA                    3001 LSTREET                      OMAHA              NE      68107-1409    July2010
MARSH USA INC.                   P. 0. BOX 44078                   SAN FRANCISCO      CA      94144-4078    June 2011
NATIONAL BEEF PACKING CO., LLC   12200 NORTH AMBASSADOR DRIVE      KANSAS CITY        MO      64163-1244    July 2010
WOLVERINE PACKING CO             P0 BOX 79001                      DETROIT            MI      48279-1 570   July 2010
XL MEATS                             -
                                 5101 11 ST SE                     CALGARY            AB      T3H 1 M7      July2010
MEAT COMMODITIES, INC.           1200 CENTREPARK DRIVE             ASHEVILLE          NC      28805         July2011
MARCUS FOOD CO., INC.            P.O. BOX 781659                   WICHITA            KS      67278-1 659   July2011
AMIGOS FOODS                     5251 5. MILLARD AVE.              CHICAGO            IL      60634         July2011
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                                                      STATEMENT OF FINANCIAL AFFAIRS

                                                                                      Expense
                                                          Gross Earnings           Reimbursment
     Employee Name           Relationship to Debtor       912411 0-9124111         912411 0-9124111         Vacation     Total Payments
Rolland Divin
2701 Del Mar Drive, Gulf
Breeze, FL 32563           Former President                      $302,884.64   $            10,076.44   $          -        $312,961.08
Jerry L. Dodson
472 Golden Ln, Longmont,
CO 80504                   Former Secretary                      $133,953.42   $           31,448.07    $     7,212.00      $172,613.49
                                                                                                                           $485,574.57
                                                                                                                                          Case:11-32656-HRT Doc#:94 Filed:10/11/11
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                                       EXHIBIT 23
                             STATEMENT OF FINANCIAL AFFAIRS
           Employee!
           Form of Payment   Invoice Date   Description              Amount
           R. Divin AmEx     10/10/2010     CO TRAVEL
                                               -                        $850.97
           R. Divin AmEx     10/10/2010     CO MEALS &
                                               -                        $725.31
           R. Divin AmEx     2/10/2011      CO-MEALS&                 $1,124.40
           R. Divin AmEx     4/11/2011      CO -TRAVEL                   $27.00
           R. Divin AmEx     4/11/2011      CO MEALS &
                                               -                      $2,275.46
           R. Divin AmEx     4/11/2011      SALES SUPPLIES
                                                    -                   $518.04
           R. Divin AmEx     11/10/2010     CO TRAVEL
                                               -                        $638.00
           R. Divin AmEx     11/10/2010     CO-MEALS&                   $134.53
           R. Divin AmEx     12/10/2010     CO MEALS &
                                               -                        $694.02
           R. Divin AmEx     3/12/2011      CO -TRAVEL                  $217.85
           R. Divin AmEx     3/12/2011      CO MEALS &
                                               -                        $229.90
           R. Divin AmEx     5/1 1/2011     SALES TRAVEL
                                                    -                   $210.00
           R. Divin AmEx     5/11/2011      SALES MEALS &
                                                    -                   $759.94
           R. Divin AmEx     5/11/2011      SALES SUPPLIES
                                                    -                   -$32.48
           R. Divin AmEx     8/10/2011      CO-MEALS&                   $814.19
           R. Divin AmEx     6/10/2011      SALES MEALS &
                                                    -                   $632.32
           R. Divin AmEx     6/10/2011      SALES TRAVEL
                                                    -                    $27.00
           R. Divin AmEx     6/10/2011      DUES & SUBSCRIPTIONS         $55.00
           R. Divin AmEx     7/10/2011      SALES MEALS &
                                                    -                   $174.99
                                                                     $10,076.44

           J. Dodson/Check   12/15/2010     Check# 150748               $986.41
           J. Dodson/Check   12/17/2010     Check# 150798             $1,000.00
           J. Dodson/Check   12/20/2010     Check# 150802            $17,650.00
           J. Dodson/Check   12/22/2010     Check # 150868              $250.00
           J.Dodson/Check    3/1/2011       Check#151927              $1,764.41
           J. Dodson/Check   3/8/2011       Check# 152006               $841.81
           J. Dodson/Check   3/15/2011      Check# 152125             $8,955.44
                                                                     $31,448.07
